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                         IN THE UNITED STATES DISTRICT COURT
                                        FOR THE DISTRICT OF MINNESOTA

                                         CRIMINAL MOTION HEARING

UNITED STATES OF AMERICA,                                                          COURT MINUTES
                                                                                  BEFORE: Becky R. Thorson
                                    Plaintiff,                                      U.S. Magistrate Judge
v.                                                                   Case No:         20-cr-106 (DWF/BRT)
                                                                     Date:             October 16, 2020
(1) Lamond Leroy McCabe,                                             Court Reporter: Maria Weinbeck
also known as Pimp; and                                              Location:         Devitt, St. Paul, MN
 (2) Mario Jermaine Rolack,                                          Time Commenced: 2:10 pm
also known as Rio,                                                   Time Concluded: 4:17 pm
                                                                     Time in Court:     2 Hours & 7 Minutes
                                    Defendants.                      Hearing Type: Evidentiary

APPEARANCES BY ELECTRONIC MEANS:
For Plaintiff: Ruth Shnider, Esq., Assistant U.S. Attorney
For Defendant McCabe (1): Robert J. Shane, Esq., Retained
For Defendant Rolack (2): Deborah K. Ellis, Esq, CJA

Interpreter / Language:       n/a

WITHDRAWN MOTIONS: n/a

Deft(s). addtl briefs due: December 14, 2020            Govt. addl briefs due: December 30, 2020

Non-Dispositive motions taken under advisement as of today: 20, 21, 39, 54, 55, 56
Dispositive motions taken under advisement as of 12/30/2020: 29, 30, 31, 32, 33, 53

☒ ORDER TO BE ISSUED          ☐ NO ORDER TO BE ISSUED            ☒ R&R TO BE ISSUED          ☐ NO R&R TO BE ISSUED

☒ Exhibits retained by the Court    ☐ Exhibits returned to counsel     ☐ Text order to be entered by Clerk’s Office

Reset Hearings:
Voir Dire/Jury Instruction/Trial Date: to be determined

Additional Information:
Five hearing exhibits were received; Minneapolis Police Sergeant Darcy Klund testified.


                                                                                                            s/Danielle M. Mair
                                                                                                        Signature of Law Clerk
